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                             IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND
                                        Southern Division

                                                     *
IN RE: MARRIOTT INTERNATIONAL
CUSTOMER DATA SECURITY BREACH                        *
LITIGATION
                                                     *
THIS DOCUMENT RELATES TO                             *       MDL No.: 19-md-2879
ALL ACTIONS
                                                     *       JUDGE GRIMM

*       *        *       *       *       *       *       *      *       *       *      *       *     *
             CASE MANAGEMENT ORDER #2 APPOINTING LEAD COUNSEL.
                  LIAISON COUNSEL. AND STEERING COMMITTEE

        This matter is before the Court on competing motions to appoint lead counsel, liaison counsel,

and members of a steering committee submitted by various counsel for the Consumer Plaintiffs,

Financial Institution Plaintiff, Derivative Action Plaintiffs, and Securities Action Plaintiffs.    This

Court, in Case Management Order No.1 ("CMO No.1"), set forth the main criteria it would consider

in appointing leadership positions in this matter, including: (1) willingness and ability to commit to

a time-consuming process; (2) ability to work cooperatively with others; (3) professional experience

in this type oflitigation;   and (4) access to sufficient resources to advance the litigation in a timely

manner. Having considered all timely submissions in light of the criteria set forth in CMO No.1,

the Manual for Complex Litigation, and Federal Rule of Civil Procedure 23(g), and having

considered oral arguments during the hearing held on April 29, 2019, the Court hereby appoints the

following leadership:
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I.     Plaintiffs' Co-Lead Counsel

             a. Consumer Plaintiffs' Co-Lead Counsel

       The Court appoints the following attorneys as the Consumer Plaintiffs' Co-Lead Counsel:

                  Andrew Friedman
                  Cohen Milstein Sellers & Toll PLLC
                  1100 New York Avenue, NW, Suite 500
                  Washington, D.C. 20005

                  Amy Keller
                  DiCello Levitt Gutzler LLC
                  10 North Dearborn Street, 11th Floor
                  Chicago, Illinois 60602

                  James Pizzirusso
                  Hausfeld LLP
                  1700 K Street, NW, Suite 650
                  Washington, D.C. 20006

             b. Financial Institution Plaintiff's Co-Lead Counsel

           The Court appoints the following attorneys as the Financial Institution Plaintiff's Co-Lead

Counsel:

                  Arthur Murray
                  Murray Law Firm
                  650 Poydras Street, Suite 2150
                  New Orleans, LA 70130

                  Steven Silverman
                  Silverman Thompson Slutkin & White, LLC
                  201 N. Charles Street, Suite 2600
                  Baltimore, MD 21201

             c. Derivative Action Plaintiffs' Co-Lead Counsel

           The Court appoints the following attorneys as the Derivative Action Plaintiffs' Co-Lead

Counsel:

                  Timothy Brown
                  The Brown Law Firm, P.C.
                  240 Townsend Square
                  Oyster Bay, NY 11771

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                  Gregory Egleston
                  Gainey McKenna & Egleston
                  440 Park Avenue South, 5th Floor
                  New York, NY 10016

             d. Securities Action Plaintiffs' Co-Lead Counsel

           The Court appoints the following attorneys as the Securities Action Plaintiffs' Co-Lead

Counsel:

                  Eric Belfi
                  Mark Goldman
                  Christopher Keller
                  Francis McConville
                  Carol Villegas
                  Labaton Sucharow LLP
                  140 Broadway
                  New York, NY 10005

             e. Co-Interim Class Counsel

           Co-Lead Counsel are also hereby designated as Co-Interim Class Counsel pursuant to Rule

23(g) to "act on behalf of a putative class before determining whether to certify the action as a class

action." See Fed. R. Civ. P. 23(g)(3).

II.    Plaintiffs' Liaison Counsel

             a. Consumer Plaintiffs' Liaison Counsel

           The Court appoints the following attorneys as the Consumer Plaintiffs' Liaison Counsel:

                  Veronica Nannis
                  Joseph Greenwald & Laake, P.A.
                  6404 Ivy Lane, Suite 400
                  Greenbelt, MD 20770

                  James Ulwick
                  Kramon & Graham PA
                  1 South Street, Suite 2600
                  Baltimore, MD 21202




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             b. Financial Institution Plaintiff's Liaison Counsel

           The Court appoints the following attorney as the Financial Institution Plaintiffs Co-Lead

Counsel:

                  Steven Silverman
                  Silverman Thompson Slutkin & White, LLC
                  201 N. Charles Street, Suite 2600
                  Baltimore, MD 21201

             c. Derivative Action Plaintiffs' Liaison Counsel

           The Court appoints the following attorneys as the Derivative Action Plaintiffs' Liaison

Counsel:

                  Andrew 0'Connell
                  Thomas & Libowitz, P.A.
                  100 Light Street, Suite 1100
                  Baltimore, MD 21202

             d. Securities Action Plaintiffs' Liaison Counsel

           The Court appoints the following attorneys as the Securities Action Plaintiffs' Co-Lead

Counsel:

                  Eric Belti
                  Mark Goldman
                  Christopher Keller
                  Francis McConville
                  Carol Villegas
                  Labaton Sucharow LLP
                  140 Broadway
                  New Yark, NY 10005

III.   Plaintiffs' Steering Committee

             a. Consumer Plaintiffs' Steering Committee

           The Court appoints     the following attorneys   as the Consumer     Plaintiffs'   Steering

Committee:

                  MaryBeth V. Gibson
                  The Finley Firm, P.e.

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        3535 Piedmont Road, Bldg. 14, Suite 230
        Atlanta, GA 30305

        Megan Jones
        Hausfeld LLP
        600 Montgomery Street, Suite 3200
        San Francisco, CA 94111

        Jason Lichtman
        Lieff Cabraser Heimann & Bernstein, LLP
        250 Hudson Street, 8th Floor
        New York, NY 10013

        Gary F. Lynch
        Carlson Lynch LLP
        1133 Penn Avenue, 5th Floor
        Pittsburgh, PA 15222

        Timothy Maloney
        Joseph Greenwald & Laake, P.A.
        6404 Ivy Lane, Suite 400
        Greenbelt, MD 20770

        Eve-Lynn Rapp
        Edelson PC
        123 Townsend Street, Suite 100
        San Francisco, CA 94107

        Daniel Robinson
        Robinson Calcagnie, Inc.
        19 Corporate Plaza Drive
        Newport Beach, CA 92660

        Norman Siegel
        Stueve Siegel Hanson LLP
        460 Nichols Road, Suite 200
        Kansas City, Missouri 64112

        Ariana Tadler
        Milberg Tadler Phillips Grossman LLP
        1 Penn Plaza                  .
        New York, NY 10119

   b. Financial Institution Plaintiff's Steering Committee

The Court appoints the following attorneys as the Financial Institution Plaintiff s Steering


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Committee:

               Stuart A. Davidson
               Robbins Geller Rudman & Dowd LLP
               120 E. Palmetto Park Rd., Suite 500
               Boca Raton, FL 33432

               Brian C. Gudmundson
               Zimmerman Reed LLP
               1100 IDS Center, 80 S. 8th St.
               Minneapolis, MN 55402

               Charles VanHorn
               Berman Fink Van Hom P.C.
               3475 Piedmont Road, NE, Suite 1100
               Atlanta, GA 30305

       The Court appoints the following attorney as the Financial Institution Coordinating

Discovery Counsel:

               Stuart A. Davidson
               Robbins Geller Rudman & Dowd LLP
               120 E. Palmetto Park Rd., Suite 500
               Boca Raton, FL 33432

         All the foregoing appointments are personal to the individual attorney appointed. Although

the Court expects that the individual attorneys will draw upon their firms, including their firms'

resources, to assist them with their duties, each individual attorney is personally responsible for his

or her duties. The Court may add or replace individual attorneys, if and as circumstances warrant.

IV.    Defendants' Counsel

       The Court appoints the following attorneys as Defendants'           Co-Lead Counsel for the

Consumer and Financial tracks:

               Lisa Ghannoum
               Gilbert Keteltas
               Daniel Warren
               Baker & Hostetler LLP
               Key Tower
               127 Public Square, Suite 2000
               Cleveland, OH 44114

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        The Court appoints the following attorneys as Defendants'         Co-Lead Counsel for the

Securities and Derivative Action tracks:

                 Jason J. Mendro
                 Laura Kathryn O'Boyle
                 Adam H. Offenhartz
                 Gibson, Dunn & Crutcher LLP
                 200 Park Avenue
                 New York, NY 10166

        The Court appoints the following attorneys as Defendants'           Coordinating   Discovery

Counsel:

                 Lisa Ghannoum
                 Gilbert Keteltas
                 Daniel Warren
                 Baker & Hostetler LLP
                 Key Tower
                 127 Public Square, Suite 2000
                 Cleveland,OH 44114

v.      Duties of Co-Lead Counsel

        The Co-Lead Counsel shall be responsible for coordinating during pretrial proceedings

(with respect to their own tracks), including:

     a. Determine (after consultation with other co-counsel as may be appropriate) and present (in

        briefs, oral argument, or such other fashion as may be appropriate, personally or by a

        designee) to the Court and opposing parties the position of all matters arising during pretrial

        proceedings;

     b. Coordinate the initiation and conduct of discovery consistent with the requirements of the

        Federal Rules of Civil Procedure relating to discovery or any other subsequent order of this

        Court;

     c. Coordinate with members of the Steering Committee in management of the litigation and

        fund the necessary and appropriate costs of discovery and other common benefit efforts,

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     including the maintenance of a plaintiffs' document depository, see Manual for Complex

     Litigation, Fourth, section 40.261;

d. Coordinate settlement discussions or other dispute resolution efforts on behalf of the

     plaintiffs, under the Court's supervision, if and as appropriate, but not enter binding

     agreements except to the extent expressly authorized;

e. Delegate specific tasks to other counsel in the matter to ensure that pretrial preparation is

     conducted effectively, efficiently, and economically,       that schedules are met, and that

     unnecessary expenditures of time and expense are avoided;

f.   Consider the qualifications of non-leadership counsel who submitted leadership applications

     for specific tasks;

g. Consult with and employ consultants or experts, as necessary;

h. Enter into stipulations, with opposing counsel, necessary for the conduct of the litigation;

1.   Encourage full cooperation and efficiency among all Plaintiffs' counsel;

J.   Prepare and distribute to the parties periodic status reports;

k. Maintain adequate time and disbursement records covering service of designated counsel and

     establish guidelines, for approval by the Court, as to the keeping of time records and

     expenses;

1. Determine reasonable compensation for non-leadership counsel commensurate with their

     contributions from a settlement fund, if any;

m. Monitor the activities of co-counsel to ensure that schedules are met and unnecessary

     expenditures of time and funds are avoided;

n. Present all matters of common concern to the plaintiffs;

o. Perform such other duties as may be incidental to proper coordination with the Steering

     Committees' pretrial activities or as authorized by further Order of the Court; and

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      p. Submit, if appropriate, additional committees and counsel for designation by the Court.

VI.        Duties of Liaison Counsel

           The Liaison Counsel shall have the following responsibilities, including:

      a. Maintain an up-to-date, comprehensive Service List of Plaintiffs and promptly advise the

           Court and Defendants' counsel of changes to Plaintiffs' Service List;

      b. Receive      and distribute   to Plaintiffs'    counsel,   as appropriate,   Orders, notices, and

           correspondence from the Court, to the extent such documents are not electronically filed;

      c. Receive and distribute to Plaintiffs'          counsel, as appropriate, discovery pleadings and

           correspondence and other documents from Defendants' counsel that are not electronically

           filed;

      d. Establish and maintain a document depository;

      e. Maintain and make available to co-counsel at reasonable hours a complete file of all

           documents served by or upon each party;

      f.   Assist Co- Lead Counsel and Plaintiffs' Steering Committee in the coordination of activities,

           discovery, meetings and hearings and assist in resolving scheduling conflicts among the

           parties;

      g. Maintain a file-endorsed copy of this Order, and serve the same on the parties and/or their

           attorneys in any actions later instituted in, removed to, or transferred to, these proceedings;

           and

      h. Communicate with the Court, on behalf of the Plaintiffs' Co-Lead Counsels, concerning

           scheduling and other administrative matters.

VII.       Duties of Plaintiffs' Steering Committee

           The Plaintiffs' Steering Committee shall have the following responsibilities, including:




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      a. Participate in common benefit work to advance the litigation, assigned and performed under

         the direction of Co- Lead Counsel;

      b. Meet and confer with Co-Lead Counsel, as needed, to provide advice regarding any matter,

         as may be requested from time to time by Co-Lead Counsel; and

      c. May form subcommittees to perform specific common benefit tasks, such as discovery, to

         aid in the effective and efficient conduct of this litigation.

VIII.    Duties of Coordinating Discovery Counsel

         The Coordinating Discovery Counsel shall ensure that-to          the extent possible--discovery

is coordinated among tracks (and, to the extent possible, among other pending actions that are not

dismissed, administratively closed, or stayed, including the shareholder derivative cases and the

governmental-enforcement       action) to avoid duplication and ensure efficiency.

IX.      Other Duties

      a. All counsel must keep a daily record of their time spent and expenses incurred in connection

         with this litigation and must report on a monthly basis their expenses and hours worked to

         Co-Lead Counsel.       Co-Lead Counsel will make such records and reports available to

         members of the Steering Committee upon request. In order for their time and expenses to be

         compensable, those not serving in leadership positions must secure the express authorization

         of Co-Lead Counsel for any projects or work undertaken in this litigation.

      b. On a quarterly basis, beginning on July 31, 2019, and thereafter on the last business day of

         each July, October, January, and April, Co-Lead Counsel shall submit to the Court, in

         camera, reports analyzing hours billed in this matter by all Plaintiffs' counsel.       Failure to

         maintain and submit records with sufficient descriptions of the time spent and expenses

         incurred and consistent with Local Rules may be grounds for denying attorneys' fees and/or

         expenses, for the period that relates to the missing or inadequate submissions.

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X.      Substantive Conference

        Within fourteen (14) days of the appointment of Co-Lead Counsel, the parties are ordered

to engage in a substantive conference to discuss discovery, including a proposed ESI protocol, a

protective order, a preservation order, the production and disclosure of any forensic report, and

initial disclosures.   The parties shall submit a proposed Case Management Order #3 by May 13,

2019, which should include the following:

            a. A detailed proposal of the selection process for the strongest five individual claims

                 to be brought in an amended consolidated complaint;

            b. A discovery plan for all tracks with specific dates (i.e., not "14 days from the filing

                 of the amended complaint");

            c. A briefing schedule for all tracks with specific dates; and

            d. A date for a discovery conference with the Co.

 IT IS SO ORDERED.

 Date: April 29, 2019
                                                               Paul W. Grimm
                                                               United States District Judge




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